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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


FEDERAL TRADE COMMISSION and           Case No. 1:17-cv-00124-LLS
THE PEOPLE OF THE STATE OF NEW         PLAINTIFFS’
YORK, by LETITIA JAMES, Attorney
General of the State of New York,      MEMORANDUM OF
                                       LAW IN SUPPORT OF
                  Plaintiffs,          THEIR MOTION TO
                                       EXCLUDE THE
                  v.                   TESTIMONY OF DRS.
QUINCY BIOSCIENCE HOLDING              DAVID SCHWARTZ,
COMPANY, INC., a corporation;          DAVID KATZ, LEE-JEN
                                       WEI, MINDY KURZER,
QUINCY BIOSCIENCE, LLC, a limited      RICHARD GOODMAN,
liability company;                     AND DAVID GORTLER
PREVAGEN, INC., a corporation
d/b/a/ SUGAR RIVER SUPPLEMENTS;
QUINCY BIOSCIENCE
MANUFACTURING, LLC, a limited
liability company; and
MARK UNDERWOOD, individually and as
an officer of QUINCY BIOSCIENCE
HOLDING COMPANY, INC., QUINCY
BIOSCIENCE, LLC, and PREVAGEN,
INC.,
                  Defendants.
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         Plaintiffs Federal Trade Commission and the People of the State of New York by Letitia

James, Attorney General of the State of New York, respectfully submit this Memorandum of

Law in support of their Motion to Exclude the Testimony of Drs. David Schwartz, David Katz,

Lee-Jen Wei, Mindy Kurzer, Richard Goodman, and David Gortler. Each of these experts seeks

to offer testimony in support of Defendants in this matter, but the testimony they propose to offer

is inappropriate for the jury to hear and should be excluded.

I.       INTRODUCTION

         Defendants seek to present to the jury six expert witnesses offering inadmissible

evidence: legal opinions, opinions based on unreliable methods or outside the scope of their

expertise, testimony that is irrelevant to this case, and testimony that would only confuse the

issues, mislead the jury, waste the Court’s time, or cause unfair prejudice. Because such

evidence does not satisfy Federal Rules of Evidence 402, 403, and 702, and Daubert v. Merrell

Dow Pharms, Inc., 509 U.S. 579 (1993), Plaintiffs request that the Court exercise its gatekeeping

function and exclude it, including any reliance on, references to, or arguments based upon it, at

trial.

         In this case, Plaintiffs allege that Defendants deceptively represented that their Prevagen

products: (1) improve memory; (2) improve memory within 90 days; (3) reduce memory

problems associated with aging; and (4) provide other cognitive benefits, including, but not

limited to, healthy brain function, a sharper mind, and clearer thinking (“Challenged Efficacy

Claims”). (Compl. (ECF No. 1) ¶¶ 36-38, 42-45). Plaintiffs also allege that Defendants

deceptively represented that such claims for Prevagen products are clinically shown

(“Challenged Clinically Proven Claims” and collectively with the Challenged Efficacy Claims,

“Challenged Claims”). (Id. ¶¶ 39-41, 42-45). The core legal questions are whether Defendants

have “competent and reliable scientific evidence” to substantiate the Challenged Efficacy Claims
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and whether they have the level of evidence they claimed to have for the Challenged Clinically

Proven Claims, specifically a well-designed, randomized, controlled, double-blinded human

clinical trial (“RCT”). None of Defendants’ experts opines on whether Defendants have

substantiated the Challenged Clinically Proven Claims with the RCT that Defendants widely

touted in their national advertising. In fact, Defendants’ experts seem to be unaware of the

Challenged Clinically Proven Claims. As to the Challenged Efficacy Claims, Defendants’

experts fail to opine on the scientific standards experts in the relevant fields believe constitute

competent and reliable scientific evidence for memory- and cognitive-improvement claims.

Instead, Defendants’ experts offer impermissible and erroneous legal opinions that are predicated

on a fundamental misunderstanding of FTC law and guidance and irrelevant Food and Drug

Administration (“FDA”) laws, regulations, and guidance; actions taken by FDA with respect to

the drug Aduhelm; and actions taken by other dietary supplement marketers.

       Defendants’ experts also opine on issues for which they are not qualified and proffer

various conflicting and unreliable statistical theories for Defendants’ primary human clinical

study, the Madison Memory Study. First, Dr. David Katz lacks the qualifications to conduct and

interpret an econometric re-analysis of the Madison Memory Study, and Dr. Mindy Kurzer is

unqualified to offer opinions relating to cognition and memory. Additionally, Dr. Lee-Jen Wei

offers an incomplete and unreliable statistical analysis by failing to apply his own alternative

statistical methodology to the Madison Memory Study, and therefore, his statistical analysis

should be excluded in its entirety. Finally, Dr. Kurzer evaluates the Madison Memory Study’s

results using a method based on her logic or common sense, which is not subject to any

standards, and should be excluded.




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       Defendants also propose to present speculative expert testimony regarding potential

mechanisms of action for Prevagen – i.e., theories about how Prevagen might be able to have

some effect on human memory or cognition. Defendants’ experts fail to adequately tie their

speculation to specific characteristics of Prevagen’s active ingredient, apoaequorin. Defendants’

experts advance a broad array of theories about Prevagen’s mechanism of action, largely based

on how other substances that are not Prevagen work. Yet, for the most part, they do not tie their

testimony to the specifics of this case – i.e., apoaequorin, which is an active ingredient in

Defendants’ products. This testimony is therefore unreliable, irrelevant, and, because it is likely

to unduly confuse and influence the jury, prejudicial. Additionally, portions of the testimony

offered by Drs. Richard Goodman and David Gortler venture well outside their expertise and

should be excluded on that basis.

II.    LEGAL STANDARDS FOR THE ADMISSIBILITY OF EXPERT TESTIMONY

       The admissibility of expert testimony is governed by Federal Rule of Evidence 702 and

Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). Rule 702 provides:

       If scientific, technical, or other specialized knowledge will assist the trier of fact to
       understand the evidence or to determine a fact in issue, a witness qualified as an
       expert by knowledge, skill, experience, training, or education, may testify thereto
       in the form of an opinion or otherwise, if (1) the testimony is based upon sufficient
       facts or data, (2) the testimony is the product of reliable principles and methods,
       and (3) the witness has applied the principles and methods reliably to the facts of
       the case.
Daubert explains that “[t]he adjective ‘scientific’ implies a grounding in the methods and

procedures of science. Similarly, the word ‘knowledge’ connotes more than subjective belief or

unsupported speculation.” Daubert, 509 U.S. at 590. Thus, “in order to qualify as ‘scientific

knowledge,’ an inference or assertion must be derived by the scientific method.” Daubert v.

Merrell Dow Pharms., Inc., 43 F.3d 1311, 1316 (9th Cir. 1995) (“Daubert II”). “Proposed

testimony must be supported by appropriate validation – i.e., ‘good grounds,’ based on what is

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known.” Daubert, 509 U.S. at 590. Proffered testimony “doesn’t become ‘scientific knowledge’

just because it’s uttered by a scientist; nor can an expert’s self-serving assertion that his

conclusions were ‘derived by the scientific method’ be deemed conclusive.” Daubert II, 43 F.3d

at 1315-16. “[N]othing in either Daubert or the Federal Rules of Evidence requires a district

court to admit opinion evidence that is connected to the existing data only by the ipse dixit of the

expert.” GE v. Joiner, 522 U.S. 136, 146 (1997). Indeed, a “court may conclude that there is

simply too great an analytical gap between the data and the opinion proffered.” Id.

       Under Rule 702, the proposed testimony must “help the trier of fact to understand the

evidence or to determine a fact in issue.” Fed. R. of Evid. 702. This requirement is “akin to the

relevance requirement of Rule 401,” but also requires expert testimony to have a “valid scientific

connection to the pertinent inquiry as a precondition of admissibility.” In re Rezulin Prods. Liab.

Litig., 309 F. Supp. 2d 531, 540 (S.D.N.Y. 2004); see also Fed. R. Evid. 401 (“Evidence is

relevant if: (a) it has any tendency to make a fact more or less probable than it would be without

the evidence; and (b) the fact is of consequence in determining the action.”). Stated otherwise, to

be admissible, there must be a proper “fit” between proffered expert testimony and the issues to

be resolved at trial. Daubert, 509 U.S. at 591. “‘Expert testimony which does not relate to any

issue in the case is not relevant and, ergo, non-helpful.’” City of New York v. FedEx Ground

Package Sys., Inc., No. 13-CIV-9173, 2018 WL 4961455, at *6 (S.D.N.Y. Oct. 15, 2018)

(stating that the issue was whether defendant knowingly shipped cigarettes, and expert testimony

on the public health effect of defendant’s conduct did not help answer the factual issues of the

case) (quoting Daubert , 509 U.S. at 591).

       The trial court “has a ‘gatekeeping function’ under Rule 702 – it is charged with the ‘task

of ensuring that an expert’s testimony both rests on a reliable foundation and is relevant to the



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task at hand.” Amorgianos v. Amtrak, 303 F.3d 256, 265 (2d Cir. 2002) (citing Daubert, 509

U.S. at 597). “While the proponent of expert testimony has the burden of establishing by a

preponderance of the evidence that the admissibility requirements of Rule 702 are satisfied, the

district court is the ultimate ‘gatekeeper.’” United States v. Williams, 506 F.3d 151, 160 (2d Cir.

2007) (citations omitted). The objective of a trial judge’s gatekeeping requirement is “to make

certain that an expert, whether basing testimony upon professional studies or personal

experience, employs in the courtroom the same level of intellectual rigor that characterizes the

practice of an expert in the relevant field.” Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137,

152 (1999). “Thus, when an expert opinion is based on data, a methodology, or studies that are

simply inadequate to support the conclusions reached, Daubert and Rule 702 mandate the

exclusion of that unreliable opinion testimony.” Amorgianos, 303 F.3d at 266 (citations omitted).

        This Circuit is in accord with other circuits in requiring exclusion of expert testimony that

expresses a legal conclusion. See, e.g., Hygh v. Jacobs, 961 F.2d 359, 363 (2d. Cir. 1992);

United States v. Scop, 846 F.2d 135, 140 (2d Cir. 1988); Marx & Co. v. Diners’ Club, Inc., 550

F.2d 505, 510-12 (2d Cir. 1977); Torres v. County of Oakland, 758 F.2d 147, 150 (6th Cir.

1985); Strong v. E.I. DuPont de Nemours Co., 667 F.2d 682, 685-86 (8th Cir. 1981). “Generally,

the use of expert testimony is not permitted if it will ‘usurp either the role of the trial judge in

instructing the jury as to the applicable law or the role of the jury in applying that law to the facts

before it.’” United States v. Duncan, 42 F.3d 97, 101 (2d Cir. 1994) (citations omitted).

        Finally, under Rule 403, expert testimony – even if relevant – must be excluded if “its

probative value is substantially outweighed by a danger of . . . unfair prejudice, confusing the

issues, misleading the jury, undue delay, or wasting of time.” Fed. R. Evid. 403. Indeed, in light

of the difficulty a jury may have in evaluating expert testimony, and the “unique weight” a jury



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may assign to such testimony, Rule 403 plays a “uniquely important role” in a court’s

determination of whether to admit expert testimony. Nimely v. City of New York, 414 F.3d 381,

397 (2d Cir. 2005). Because expert testimony “can be both powerful and quite misleading

because of the [jury’s] difficulty in evaluating it,” courts must exercise “more control over

experts than over lay witnesses.” Daubert, 509 U.S. at 595 (internal quotation marks omitted).

III.   DEFENDANTS’ EXPERTS OFFER IRRELEVANT AND ERRONEOUS LEGAL
       CONCLUSIONS THAT ARE OUTSIDE THEIR EXPERTISE AND WITHIN THE
       PURVIEW OF THE COURT TO DECIDE

       Three of Defendants’ experts, Drs. David Schwartz, David Katz, and Lee-Jen Wei, none

of whom is a legal expert, seek to recast the well-established FTC and New York law governing

this case by offering improper and erroneous legal opinions on the appropriate standard of

evidence for the Challenged Claims about Prevagen. For years, Defendants have flaunted their

purported RCT – the Madison Memory Study – as scientific support for their memory- and

cognitive-improvement claims in their national advertising campaign to distinguish themselves

from their competitors. Defendants’ experts, however, refuse to evaluate Defendants’ research

according to the level of evidence Defendants claimed to have, as required by FTC and New

York precedent.

       Instead, Drs. Schwartz, Katz, and Wei base a substantial portion of their substantiation

opinions on their personal – and mistaken – legal interpretations of FTC law and guidance and

irrelevant FDA laws, regulations, guidance, and drug approvals, rather than any scientific

expertise. Indeed, the legal conclusions offered by Drs. Schwartz, Katz, and Wei are not based

on any evaluation of what type of evidence experts in the relevant fields of memory, cognition,

and clinical trials would require. These experts also fail to consider whether the purported RCT

and non-RCT studies Defendants rely upon as substantiation were conducted and evaluated in an

objective manner by persons qualified to do so, using procedures generally accepted in the
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relevant field to yield accurate and reliable results. (Graham Decl. (ECF No. 225) Ex. F, Dietary

Supplements: An Advertising Guide for Industry (“FTC Guidance”) at QUI-FTCNY-00189212);

See also FTC v. Alcoholism Cure Corp., No. 3:10-cv-266-J-34JTB, 2011 WL 13137951, at *27

(M.D. Fla. Sept. 16, 2011).

       The danger of allowing experts to present impermissible legal opinions at trial is

compounded in this case by the fact that the legal opinions of Drs. Schwartz, Katz, and Wei are

wrong. Drs. Schwartz, Katz, and Wei erroneously maintain that, according to FTC and FDA

law, Defendants were not required to have an RCT to substantiate the Challenged Claims and the

mere fact that they did, in fact, conduct an RCT greatly exceeds the legal standards required for

dietary supplement manufacturers, including Defendants. As discussed below, they are

incorrect. The Court should exercise its gatekeeping function to exclude the legal opinions of

Drs. Schwartz, Katz, and Wei, all of which present the risk of unfair prejudice, confusion of the

issues, misleading the jury, and undue delay.

       A.      Drs. David Katz, David Schwartz, and Lee-Jen Wei Offer Inadmissible Legal
               Opinions

       The reports and testimony of Drs. David Katz, David Schwartz, and Lee-Jen Wei are

replete with legal opinions about FDA laws, regulations, guidance, and drug approvals, which

are inapplicable to this action, FTC law and guidance, and what they consider to be differences

in the legal standards for marketing claims for dietary supplements versus drugs. Rather than

explaining what experts in their respective fields would consider to be competent and reliable

scientific evidence for Defendants’ memory- and cognitive-improvement claims, as required by

FTC case law, all three experts purport to interpret FTC and FDA law and opine on what they

believe the FTC said and did not say in Dietary Supplements: An Advertising Guide for Industry

(“FTC Guidance”).


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       Drs. Schwartz, Katz, and Wei are not lawyers, and as such, they are unqualified to offer

legal opinions. More importantly, their personal legal opinions are inappropriate for expert

testimony. Opinions about the appropriate legal standard are generally impermissible, as they do

not constitute “scientific knowledge,” do not have a reliable basis in any scientific discipline, and

impermissibly intrude upon the duty of the Court to instruct the jury with regard to the applicable

law. See In re LIBOR-Based Fin. Instruments Antitrust Litig., 299 F. Supp. 3d 430, 469

(S.D.N.Y. 2018).

       Dr. Schwartz, a neuroscientist by training, never opines on the scientific standards that

neuroscientists in his field would require to substantiate Defendants’ memory- and cognitive-

improvement claims. Instead, he states that he reviewed Defendants’ research in the context of

FDA’s Dietary Supplement Health and Education Act of 1994 (“DSHEA”), which has no

bearing in this case, and the FTC Act, and concludes that “the Challenged Claims do not meet

the definition of disease claims as defined by the Food and Drug Administration. Thus, the level

of evidence that would be necessary for a drug is unnecessary in this context.” (Graham Decl.

(ECF No. 225) Ex. W, Schwartz Aff. Report ¶¶ 7, 10.) Dr. Schwartz proffers a similarly

irrelevant legal conclusion that the “Prevagen product packaging is in compliance with the Food

and Drug Administration Code of Federal Regulations Title 21.” (Id. ¶ 9.) He devotes an entire

section in his rebuttal report to the “Level of Evidence Required for Dietary Supplement

Manufacturers to Substantiate Structure-Function Claims,” renders his own interpretation of

FDA’s regulatory framework for dietary supplements and drugs, discusses the FDA’s recent

approval of the prescription drug Aduhelm, which is intended for patients with Alzheimer’s

disease, offers generalized views on what he construes to be the different legal standards for

dietary supplements and drugs, compares Prevagen to other dietary supplement marketers, and



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rejects the notion that an RCT can ever be required to substantiate memory- and cognitive-

improvement claims for a dietary supplement. (Graham Decl. (ECF No. 225) Ex. X, Schwartz

Rebuttal Report ¶¶ 3-4, 8-9, 11-26, 46, 49, 50.)

       Dr. Katz, an internal medicine doctor, similarly offers opinions in the context of FDA’s

DSHEA, discusses FDA’s approval of Aduhelm, and states that he reviewed the FTC Guidance

“to determine what the FTC has told the dietary supplement industry in terms of what constitutes

a reasonable basis for claims relating to supplements.” (Graham Decl. (ECF No. 225) Ex. P,

Katz Rebuttal Report ¶¶ 2, 10, 31-36.) He, too, devotes an entire section of his rebuttal report to

“The Appropriate Standard of Review for Dietary Supplement Products,” faults Plaintiffs’

experts for not “acknowled[ing] that the standards for claim substantiation for drugs and dietary

supplements are distinct,” and concludes that the FTC Guidance “does not require human clinical

trials.” (Id. ¶¶ 2, 6, 18-30.) Dr. Katz completely overlooks the obvious flaws in Defendants’

research and faults Plaintiffs’ experts for “devoting much of their expert attention to the caliber

of [Defendants’] RCT” because in his view, “the mere fact that Quincy conducted a randomized

clinical trial in humans and obtained results suggesting a clinical benefit in a defined population

already greatly exceeds the required standard to market a dietary supplement under [FDA’s]

DSHEA and the FTC’s own Guidance.” (Id. ¶¶ 21-23, 26, 29) (emphasis added).)

       Finally, Dr. Wei, a biostatistician, states that he reviewed the FTC’s Guidance and claims

that it makes clear that “randomized, clinical trials are not required” for dietary supplements.

(Graham Decl. (ECF No. 225) Ex. Z, Wei Rebuttal Report ¶¶ 10, 13-17, 51.) At his deposition,

Dr. Wei repeatedly relied on what he believed the FTC did not say in the FTC Guidance as a

basis for his analysis. (See, e.g., Matuschak Decl. Ex. C, Wei Tr. at 55:15 – 65:23.)




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          Whereas Drs. Schwartz, Katz, and Wei may be uniquely qualified by experience to assist

the jury in evaluating Defendants’ substantiation according to the scientific standards of their

fields, they are not qualified to compete with the Court in instructing the jury. See Hygh, 961

F.2d at 364. It is therefore impermissible to allow them to state their opinions on the law of the

forum. See Marx & Co., 550 F.2d at 510 (citing Loeb v. Hammond, 407 F.2d 779 (7th Cir.

1969)).

          Defendants’ experts’ opinions about the evidence necessary to substantiate the challenged

claims, as well as the sufficiency of Defendants’ proffered substantiation, are based not on

science, but on their interpretation of the law. Their conclusions are not based on any evaluation

of what type of evidence experts in the relevant fields of memory and cognition would require.

As a critical step of their reasoning is based not on the scientific method but on their personal

legal interpretations, Defendants’ experts’ substantiation analysis is unreliable and inadmissible.

See Amorgianos, 303 F.3d at 267. Plaintiffs therefore request that the Court exclude any

testimony by these experts’ as to their perceived notions about the appropriate legal standard that

applies in this case.

          B.     The Opinions of Drs. Schwartz, Katz, and Wei Relating to FDA Are
                 Irrelevant

          Not only do Defendants’ experts offer improper legal opinions, but their opinions on

FDA’s evidentiary standards are not relevant. The degree of regulation that Prevagen or any

other dietary supplement would be subjected to by the FDA does not apply to any of the issues of

this case. See Bristol-Myers Co. v. FTC, 738 F.2d 554, 559 (2d Cir. 1984) (“Insofar as FDA

requirements and regulations are concerned, they simply do not govern this case.”); see also

Thompson Med. Co. v. FTC, 791 F.2d 189, 193 (D.C. Cir. 1986) (stating that Bristol-Myers made

it quite clear that FDA requirements and regulations were a different regulatory scheme and did


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not govern an FTC case); FTC v. Lunada Biomedical, No. CV-15-3380-MWF, 2015 WL

12911515, at *4-5 (C.D. Cal. Sept. 23, 2015) (noting that FDA requirements and regulations did

not apply even when the product at issue was a dietary supplement); FTC v. Wellness Support

Network, Inc., No. 10-4879, 2013 WL 5513332, at *10 (N.D. Cal. Oct. 4, 2013) (FDA

classification of a product as a drug or medical food was irrelevant; granting FTC’s motion to

exclude testimony of expert as it did not constitute “scientific knowledge”). This case is not

brought under any statute or rule enforced by the FDA and does not involve the FDA’s

regulatory process for drugs generally or for Aduhelm specifically. Likewise, evidence

comparing Defendants to other dietary supplement companies that market different products

simply has no bearing on whether the Challenged Claims were supported by competent and

reliable scientific evidence. Courts have excluded expert evidence that does not relate to any

issue to be resolved at trial. See, e.g., United States v. Aiyer, 33 F.4th 97, 123, 126 (2d Cir.

2022) (affirming the exclusion of expert testimony on reasonableness and procompetitive

benefits of the conduct because the conduct was per se unreasonable and thus the testimony was

not relevant to any issue in the case); Town & Country Linen Corp. v. Ingenious Designs LLC,

No. 18-cv-5075, 2022 WL 2757643, at *3 (S.D.N.Y. July 14, 2022) (stating that expert

testimony that “relates only to issues that are no longer in the case after the Court’s summary

judgment ruling . . . will be excluded as no longer relevant to any issue in the case”).

       With no probative value, evidence about FDA, Aduhelm, and other dietary supplement

marketers would only serve to mislead the jury, confuse the issues, cause unfair prejudice, and

lead to undue delay. See United States v. Gatto, 986 F.3d 104, 117-18 (2d Cir. 2021) (affirming

the district court’s exclusion of evidence because it was not helpful and would only serve to

entice the jury to base its decision on an improper defense); In re Fosamax Prods. Liab. Litig.,



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645 F. Supp. 2d 164, 198 (S.D.N.Y. 2009); Fed. R. Evid. 403. It is nothing more than an attempt

to conflate what is required under FTC or New York laws with FDA law and lead the jury to

consider facts that do not go to any issues in the case. Plaintiffs therefore request that all such

opinions relating to FDA’s DSHEA, other FDA statutes, regulations, guidance, or drug

approvals, and the actions of other dietary supplement manufacturers be excluded in their

entirety.

        C.     The Erroneous Opinions of Drs. Schwartz, Katz, and Wei About FTC Law
               and Guidance Increase the Likelihood of Confusing the Jury

        The view expressed by Drs. Schwartz, Katz, and Wei that under FTC law and guidance,

an RCT is not required to substantiate health claims for a dietary supplement is simply wrong. In

applying the FTC’s competent and reliable scientific evidence standard, courts have regularly

concluded that an RCT was required to substantiate claims based on expert evidence, including

for dietary supplements. See, e.g., POM Wonderful LLC v. FTC, 777 F.3d 478, 505 (D.C. Cir.

2015); Daniel Chapter One v. FTC, 405 F. App’x 505, 506 (D.C. Cir. 2010) (noting that there

was nothing “unreasonable about the specific type of basis required by the Commission, namely,

‘competent and reliable scientific evidence’ including clinical trials with human subjects”); FTC

v. Roca Labs, Inc., 345 F. Supp. 3d 1375, 1381, 1387-89 (M.D. Fla. 2018); FTC v. NPB Adver.,

Inc., 218 F. Supp. 3d 1352, 1359 (M.D. Fla. 2016); FTC v. COORGA Nutraceuticals, 201 F.

Supp. 3d 1300, 1309 (D. Wyo. 2016) (finding that an RCT is the requisite level of

substantiation); Alcoholism Cure Corp., 2011 WL 13137951, at *39 (noting that many courts

have “embrac[ed] the placebo-controlled, double-blind clinical study as the most basic and

fundamental requirement for scientific validity and reliability to support health-related claims

(including dietary supplements)”); FTC v. Nat’l Urological Grp., Inc., 645 F. Supp. 2d 1167,

1202 (N.D. Ga. 2008); FTC v. Direct Mktg. Concepts, Inc., 569 F. Supp. 2d 285, 303-04 (D.


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Mass. 2008) (stating that it is “well-accepted that double-blind, placebo-controlled studies are

necessary to substantiate health-related efficacy claims”); FTC v. Braswell, No. CV 03-3700,

2005 WL 4227194, at *10 (C.D. Cal. Sept. 27, 2005) (listing cases where “courts . . . have found

or upheld that double-blind, placebo controlled studies are required to provide adequate

substantiation for various efficacy claims, including claims for dietary supplements”).

        In addition, contrary to the opinions expressed by Drs. Schwartz, Katz, and Wei, the FTC

has not told the dietary supplement industry in its Guidance that an RCT is unnecessary to

substantiate health claims such as the Challenged Claims. (Graham Decl. (ECF No. 225) Ex. X,

Schwartz Rebuttal Report ¶¶ 14, 16-17, 21, 49-50; Graham Decl. (ECF No. 225) Ex. P, Katz

Rebuttal Report ¶¶ 20-21, 23; Graham Decl. (ECF No. 225) Ex. Z, Wei Rebuttal Report ¶¶ 13-

16, 51.) All three of Defendants’ experts cherry pick those portions of the FTC Guidance that

serve their opinions and ignore those portions that contradict their opinions. For instance, they

focus on the statement that “[t]he FTC’s substantiation standard is a flexible one that depends on

many factors” but gloss over the statements that the “FTC typically requires claims about the

efficacy or safety of dietary supplements to be supported with ‘competent and reliable scientific

evidence,’” which is “the same standard the FTC applies to any industry making health-related

claims.” (Graham Decl. (ECF No. 225) Ex. F, Dietary Supplements: An Advertising Guide for

Industry (“FTC Guidance”) at QUI-FTCNY-00189212.) They also disregard the statement that

there are “some principles generally accepted in the scientific community to enhance the validity

of test results[,]” including that “a study that is carefully controlled, with blinding of subjects and

researchers, is likely to yield more reliable results,” “[s]tatistical significance of findings is also

important,” and “[t]he results should also translate into a meaningful benefit for consumers.”

(Id.at QUI-FTCNY-00189215.)



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       More importantly, all three experts overlook those portions of the FTC Guidance that

directly relate to the facts of this case. The FTC Guidance clearly cautions that “[i]f an

advertiser asserts that it has a certain level of support for an advertised claim, it must be able to

demonstrate that the assertion is accurate.” (Id. at QUI-FTCNY-00189212.) In other words,

since Defendants claimed to have an RCT, they were required to have that level of support.

       Not only are Defendants’ interpretations of FTC law and Guidance inadmissible legal

conclusions, but their legal interpretations are erroneous, thereby increasing the danger of

confusion of the issues, misleading the jury, and undue delay. Therefore, Plaintiffs request that

the Court exclude such opinions and confine these experts to opining on matters that are within

the scope of their expertise.

IV.    DR. KATZ LACKS EXPERTISE TO TESTIFY ABOUT A RE-ANALYSIS OF
       DEFENDANT’S PRIMARY HUMAN CLINICAL STUDY USING THE
       SEEMINGLY UNRELATED REGRESSIONS (“SUR”) ECONOMETRIC MODEL

       Defendants’ expert, David Katz, M.D., opines that a re-analysis of the Madison Memory

Study, conducted years after the study was completed, purportedly using an econometric model –

seemingly unrelated regressions (“SUR”) – “produces decisively significant results for those

study participants without cognitive impairment.” (Graham Decl. (ECF No. 225) Ex. O, Katz

Aff. Report ¶¶ 35-37.) Dr. Katz is the only expert Defendants proffer to opine on the so-called

SUR re-analysis of the Madison Memory Study. Because Dr. Katz: (1) is not personally

qualified to conduct or interpret a SUR analysis, (2) is merely parroting the opinions of Dr.

Howard Beales, who conducted the analysis, and (3) is unable to recognize that Dr. Beales did

not in fact conduct the SUR analysis Dr. Beales states he conducted, Plaintiffs seek to exclude

Dr. Katz’s testimony and all evidence relating to Dr. Beales’ analysis.




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       “[A] proffered expert may not simply pass off as [his] own, or serve as a vehicle for

presenting, the opinions of others in subjects on which the proffered expert is not personally

qualified.” Hart v. BHH, LLC, No. 15-CV-4804, 2018 U.S. Dist. LEXIS 12131, at *23

(S.D.N.Y. July 19, 2018); see also Louis Vuitton Malletier v. Dooney & Bourke, Inc., 525 F.

Supp. 2d 558, 664-66 (S.D.N.Y. June 15, 2007) (excluding testifying expert’s testimony where

he relied solely on consulting expert for statistical analysis, because testifying expert was not

qualified to conduct or interpret statistical analysis and thus served as a mouthpiece for that

consultant). Indeed,

               [a] theoretical economist, however able, would not be allowed to
               testify to the findings of an econometric study conducted by another
               economist if he lacked expertise in econometrics and the study
               raised questions that only an econometrician could answer. If it
               were apparent that the study was not cut and dried, the author would
               have to testify; he could not hide behind the theoretician.

Dura Auto. Sys. v. CTS Corp., 285 F.3d 609, 613 (7th Cir. 2002).

But this is precisely what Defendants seek to do here – present Dr. Beales’ opinions through Dr.

Katz, who lacks the necessary qualifications to opine on Dr. Beales’ flawed econometric

analysis.

       While Dr. Katz, an internal medicine doctor by training, has some experience in

biostatistics, he has no experience in econometrics generally or in the SUR model specifically.

(Matuschak Decl. Ex. A, Katz Tr. at 29:8 – 30:23.) Even though biostatistics and econometrics

share a common statistical foundation, the two fields are distinct specialties with their own

faculties and degree programs at the graduate level. As such, expertise in biostatistics does not

on its own qualify as expertise in econometrics. Dr. Katz’s testimony clearly established his lack

of familiarity with the SUR model and his inability to determine how Dr. Beales’ re-analysis of

the Madison Memory Study was conducted and to independently interpret the results. Dr. Katz

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conceded that, as to the SUR model, he “profess[es to have] no specific expertise in this

analytical method,” and it is a “technique [he] had never used and do[es] not know intimately.”

(Id. at 206:17-18; 207:3-6.) Dr. Katz further acknowledged that the bases of his opinions about

Dr. Beales’ re-analysis were his discussions with Dr. Beales, and that those discussions “were

about the general utility of the method, what it is used to do. It was certainly not a tutorial in

how to conduct [the SUR analysis] independently, but why [Dr. Beales] did it, why [Dr. Beales]

thought it was relevant, what results [Dr. Beales], as an expert in the method, thought it

produced.” (Id. at 208:9 – 209:5.) According to Dr. Katz, he “was guided in this particular

matter by [Dr. Beales’] expertise.” (Id. at 209:5-6.)

       Dr. Beales’ re-analysis is “not cut and dried,” and raises questions that only an expert

with knowledge in econometrics can answer. See Dura Auto. Sys., 285 F.3d at 613. For

example, Dr. Katz’s lack of understanding of the SUR model leaves him unable to interpret the F

tests on which the purported conclusions of the SUR analysis rest. (Matuschak Decl. Ex. A,

Katz Tr. at 206:1-207:25.) Ultimately, due to his lack of expertise, Dr. Katz cannot opine on

whether results generated from Dr. Beales’ re-analysis indicated that the Prevagen group

outperformed the placebo group in the Madison Memory Study. (See id. at 207:12-25); see also

Dura Auto. Sys., 285 F.3d at 615 (noting that an expert was unqualified in part because he lacked

the necessary expertise to determine whether the techniques were appropriately chosen and

applied).

       Additionally, Plaintiffs’ econometrics expert opines that Dr. Beales did not, in fact,

conduct a SUR analysis. In other words, the results reported by Dr. Beales were generated by an

analysis that is unequivocally not a SUR analysis. (Matuschak Decl. Ex. B, Malaspina Rebuttal

Report ¶¶ 10, 30-38, 40-41.) While Dr. Katz emphasizes the advantages of using a SUR model



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for the Madison Memory Study because the study’s observations – its outcome measures and

each participant’s scores at each testing interval – are highly correlated with each other, he fails

to realize that Dr. Beales erroneously programmed the SUR model to assume that the study’s

observations were uncorrelated. (Id. ¶¶ 11-12, 29-41.) More importantly, Dr. Katz fails to

realize that when Dr. Beales’ SUR model is corrected to account for the correlations in the

study’s observations, there is no evidence that Prevagen has a statistically significant effect on

cognitive function when compared to a placebo. (Id. ¶¶ 39, 42.)

       Dr. Katz lacks familiarity with the SUR model and is not qualified to evaluate its results.

Therefore, he cannot “testify for the purpose of vouching for the truth of what [Dr. Beales] had

told him – of becoming in short [Dr. Beales’] spokesman.” Dura Auto. Sys., 285 F.3d at 613.

With respect to the SUR re-analysis, Dr. Katz is not an expert but rather Dr. Beales’

“mouthpiece,” and his testimony should be excluded. See Louis Vuitton Malletier, 525 F. Supp.

2d at 665 (citing Dura Auto. Sys., 285 F.3d at 614).

V.     DR. WEI’S TESTIMONY IS UNRELIABLE BECAUSE HE FAILED TO APPLY
       THE STATISTICAL METHODOLOGY HE OPINES IS NECESSARY FOR THE
       MADISON MEMORY STUDY

       Defendants’ biostatistics expert, Dr. Lee-Jen Wei, repeatedly criticizes Plaintiffs’

memory and cognition expert, Dr. Mary Sano, and Plaintiffs’ biostatistics expert, Dr. Janet

Wittes, for evaluating whether the Madison Memory Study yielded statistically significant results

based on a Type I error rate of 0.05. In Dr. Wei’s view, statistical significance is an outdated

concept, and, notwithstanding the fact that Defendants used a Type I error rate of 0.05 to

determine statistical significance for the Madison Memory Study, Dr. Wei maintains that “using

a p-value of 0.05 as a threshold for significance is not appropriate for the Madison Memory

Study.” (Graham Decl. (ECF No. 225) Ex. Z, Wei Rebuttal Report ¶¶ 18-22, 27, 52.) Dr. Wei

purports to offer an alternative statistical method to determine whether Prevagen outperforms
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placebo, but he fails to apply the alternative methodology he states is necessary. Because Dr.

Wei fails to apply his own stated methodology to the Madison Memory Study, his testimony is

unreliable and should be excluded. Amorgianos, 303 F.3d at 266-67 (expert’s testimony is

unreliable when he failed to apply his own stated methodology).

       Dr. Wei opines that, rather than “rely on the outdated and meaningless ‘bright line’ rule

of p<0.05 to assess the significance of the Madison Memory Study, there is a better and more

efficient way to examine the study, which is also consistent with the FTC’s ‘flexible’ standard

for dietary supplements.” (Graham Decl. (ECF No. 225) Ex. Z, Wei Rebuttal Report ¶ 23.) In

Dr. Wei’s view, for the Madison Memory Study, “[i]t is important to use the data from nine

outcomes all together for making statistical inferences.” (Id. ¶ 25.) He cites one of his published

papers, “Assessment of Treatment Effect With Multiple Outcomes in 2 Clinical Trials of Patients

With Duchenne Muscular Dystrophy,” wherein he evaluated a study’s multiple outcomes

simultaneously, rather than as single endpoints, by: (1) for each outcome, calculating the mean

change score (the difference in score from the beginning to the end of the study) for the study’s

treatment group as well as for the control group, (2) for each outcome, calculating the difference

in mean change scores between the treatment and control groups and the corresponding

confidence interval around this difference, and (3) obtaining a z score for each outcome and then

averaging those z scores (z scores provide a standard measurement for each outcome that allows

one to compare outcomes that have different units of measurement, as is the case with the

Madison Memory Study’s outcomes). (Id. ¶ 25.) Yet, despite proffering this alternative

statistical method to evaluate the Madison Memory Study, Dr. Wei fails to apply it in his

analysis of the study.




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       As to the first two steps in Dr. Wei’s proposed statistical method, calculating mean

change scores and corresponding confidence intervals, Dr. Wei partially reports data in a way

that would not assist the factfinder in determining whether Prevagen outperforms placebo. In

Tables 1 and 2 of his rebuttal report, he merely reports the mean scores at Day 90 for each of the

study’s nine outcomes for the treatment and control groups of the AD8 0-1 and 0-2 subgroups.

His analysis stops there. Dr. Wei does not go on to calculate mean change scores for the

treatment or control groups (that is, the change in performance between Day 0 and Day 90 for

each group), he does not calculate the difference in mean change scores between the treatment

and control groups, and he does not construct the corresponding confidence interval around the

difference in mean change scores. (Id. ¶¶ 25-29, Tables 1-2.)

       At his deposition, Dr. Wei conceded that he had the information he needed to calculate

the appropriate confidence intervals for each outcome, and that merely comparing the means at

Day 90 between the treatment and control groups for each outcome, as he did in Tables 1 and 2

of his report, does not answer the question of whether the Prevagen group outperforms the

placebo group. (Matuschak Decl. Ex. C, Wei Tr. at 249:11 – 255:22; 259:13 – 260:20.) In fact,

Dr. Wei even acknowledged that had he compared the difference in mean change scores between

the treatment and control groups for the AD8 0-1 subgroup on the International Shopping List-

Delayed Recall task (one of the outcomes of the Madison Memory Study), his analysis would

have shown that the placebo group outperformed the Prevagen group. (Id. at 255:23 – 259:4.)

Ultimately, Dr. Wei’s selective reporting of mean scores at the end of the study (Day 90) for

each group in the AD8 0-1 and 0-2 subgroups, with no mention of changes in scores relative to

the Day 0 baseline, leaves the factfinder unable to determine whether the Prevagen group




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outperforms the placebo group, or vice versa, or whether there is no difference between the

groups.

          As to the third step of Dr. Wei’s proposed statistical method, obtaining a z score for each

outcome and then averaging those z scores, Dr. Wei failed to calculate z scores for the outcomes

of the Madison Memory Study altogether because, according to him, he was not given access to

the study’s raw data. (Id. at 241:15 – 243:9, 253:11 – 254:24.) Defendants certainly had access

to the raw data of the Madison Memory Study, which they conducted in-house (and indeed,

Defendants produced such raw data to Plaintiffs), but they chose not to share that data with Dr.

Wei. (Id. at 249:1 – 250:25; 253:15 – 254:24.)

          Dr. Wei’s complete failure to make the calculations he identified as being necessary to

his analysis demonstrates that his “methodology” for reaching his conclusions about the Madison

Memory Study is not based on good statistical grounds. See Amorgianos, 303 F.3d at 266-67.

He provides no explanation as to whether or how his failure to properly apply his proposed

statistical method affected his conclusions about the Madison Memory Study. Instead, he

unequivocally concludes: “Based on my review of the totality of the study results across all nine

tests, it is my professional opinion that the Madison Memory Study does meet the FTC’s

competent and reliable evidence standard because Prevagen does have a positive effect on

memory and cognition.” (Graham Decl. (ECF No. 225) Ex. Z, Wei Rebuttal Report ¶ 30.) In

light of Dr. Wei’s failure to apply the methodology that he deems is proper, the Court should

exclude his testimony as unreliable. See Amorgianos, 303 F.3d at 268-269. Dr. Wei’s opinion

“rested on a faulty assumption due to his failure to apply his stated methodology ‘reliably to the

facts of the case.’” Id. (internal citations and quotation marks omitted). Expert opinion based on

unsubstantiated and undocumented information is “the antithesis of the scientifically reliable



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expert opinion admissible under Daubert and Rule 702.” Cabrera v. Cordis Corp., 134 F.3d

1418, 1423 (9th Cir. 1998).

VI.    DR. KURZER IS NOT QUALIFIED TO OFFER OPINIONS RELATED TO
       COGNITION AND MEMORY

       Under Rule 702, courts must determine whether an expert is qualified to offer an opinion

based on “knowledge, skill, experience, training, or education.” Fed. R. Evid. 702; In re Mirena

IUD Prods. Liab. Litig., 169 F. Supp. 3d 396, 411-12 (S.D.N.Y. 2016). A witness whose

“expertise is too general or too deficient” can be deemed improperly qualified. Stagl v. Delta Air

Lines, 117 F.3d 76, 81 (2d Cir. 1997). Moreover, under the competent and reliable scientific

evidence standard, the evidence offered in support of Prevagen’s claims is considered “based on

the expertise of professionals in the relevant area.” Nat’l Urological Grp., 645 F. Supp. 2d at

1186. (See also Graham Decl. (ECF No. 225) Ex. F, FTC Guidance at QUI-FTCNY-00189212.)

For the Challenged Claims, cognition and memory are the relevant fields of expertise. Because

Dr. Kurzer lacks the appropriate expertise in both of these fields, she is not qualified to provide

testimony relating to cognition and memory, including on whether the Challenged Claims are

supported by competent and reliable scientific evidence.

       In her report, Dr. Kurzer offers extensive opinions on topics relating to cognition and

memory, including “Cognitive Function and Cognitive Impairment,” “Evaluation of Cognitive

Function,” “Treatment Options for Cognitive Impairment,” “Evidence of the Effects of

AQ/Prevagen on Brain Function and Memory: In Vitro and Animal Studies,” and “Evidence of

the Effects of AQ/Prevagen on Brain Function and Memory: Human Clinical Studies.” (See,

e.g., Graham Decl. (ECF No. 225) Ex. R, Kurzer Aff. Report ¶¶ 19-35, 60, 73, 78-80, 83-84.)

For example, Dr. Kurzer states that “it has been established that executive functioning,

processing speed, and attention all influence memory,” “a supplement containing 500-1000


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IU/day [of Vitamin D] would be sufficient to achieve cognitive benefits,” and the “results of [the

Madison Memory Study] suggest that both older adults with [mild cognitive impairment] and

those with normal aging-related cognitive decline could benefit from AQ/Prevagen.” (Id. ¶¶ 35,

80, 83.) Despite offering such opinions, Dr. Kurzer has virtually no experience in cognition or

memory. 1 In fact, Dr. Kurzer concedes that she is not an expert in the field of cognitive

function. (Matuschak Decl. Ex. D, Kurzer Tr. at 39:9-12.) She does not hold any degrees in any

cognition-related field and none of her graduate or postgraduate work involved cognitive

function. (Id. at 20:2 – 22:24.) Likewise, she has not conducted any clinical trials that involve

cognitive function, taught any classes focused on cognitive function, evaluated a person’s

cognitive function, or used the cognitive assessments given to participants in the Madison

Memory Study. 2 (Id. at 28:21 – 29:19, 37:22-25, 98:4-20.) Additionally, Dr. Kurzer has neither

been involved in any professional organizations that focus on cognitive function, nor written for

or edited any academic journals that focus on cognitive function. (Id. at 36:19 – 37:15.)

       Rule 702 requires that “experts stay within the reasonable confines of their subject area,

and cannot render expert opinion on an entirely different field or discipline.” Collado v. City of

New York, No. 11-CIV-9041, 2017 WL 4533772, at *7 (S.D.N.Y. Sept. 27, 2017) (internal

quotation marks and citation omitted). “Just because a witness qualifies as an expert with respect

to certain matters or areas of knowledge, it by no means follows that he or she is qualified to

express expert opinions as to other fields.” Loyd v. United States, No. 08-CIV-9016, 2011 WL



1
 Dr. Kurzer’s limited experience in mood or mental health in connection with diet would not
make her qualified to testify about whether Prevagen improves memory or provides other
cognitive benefits. (Matuschak Decl. Ex. D, Kurzer Tr. at 28:2 – 31:4).

2
 Dr. Kurzer’s mistakes in interpreting the raw scores of two Cogstate measures used in the
Madison Memory Study also reflect her lack of knowledge or experience with the measure and
the field of cognition generally. (Matuschak Decl. Ex. D, Kurzer Tr. at 215:1 – 221:3).
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1327043, at *5 (S.D.N.Y. Mar. 31, 2011) (internal quotation marks omitted). Courts have found

experts to be unqualified because they lack knowledge or experience in the relevant field even if

they were experts in other scientific areas. See, e.g., Quintanilla v. Kamori Am. Corp., No. 07-

2375-CV, 2009 WL 320186, at *1-2 (2d Cir. Feb. 10, 2009) (affirming exclusion of an expert

who, although a mechanical engineer, had no experience with the printing press at issue or any

similar machine); McCullock v. H.B. Fuller Co., 981 F.2d 656, 657 (2d Cir. 1992) (affirming the

exclusion of an expert who was an electrical and industrial engineer because he “lack[ed]

training or experience in chemical engineering, toxicology, environmental engineering, or the

design of warning labels,” which was needed to opine on the adequacy of the warning labels at

issue); Trumps v. Toastmaster, Inc., 969 F. Supp. 247, 252 (S.D.N.Y. 1997) (holding that a

mechanical engineer was not qualified to express an opinion on electrical engineering because

the expert was unfamiliar with electrical engineering concepts and therefore could not opine on

whether the product’s electrical design was defective).

       Here Dr. Kurzer’s expertise is in nutritional science, which is a field wholly unrelated to

cognition. Her experience conducting clinical trials in nutrition or analyzing scientific literature

is too general and does not equip her with the necessary knowledge or experience to offer

opinions on cognition. See Stagl, 117 F.3d at 81 (stating that a court may exclude testimony

because the witness’ expertise is too general or too deficient); SEC v. Tourre, 950 F. Supp. 2d

666, 677 (S.D.N.Y. 2013) (finding that an expert who had a business degree and experience in

structured finance was unqualified to testify about collateralized debt obligations because his

experience was too general, he had no experience with this type of debt obligation, and he could

not speak about industry practices). For example, Dr. Kurzer does not have the appropriate

expertise to opine on whether the purported results of the Madison Memory Study were



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clinically significant, which is whether the change affects a person’s cognitive abilities in a

meaningful way. (Soberats Decl. (ECF No. 258) Ex. A, Sano Aff. Report ¶ 37; Matuschak Decl.

Ex. D, Kurzer Tr. at 71:23 – 72:8 (stating that clinical significance is different from statistical

significance because it relates to a health, disease, or biological endpoint).) Dr. Kurzer admits

that a study result can be statistically significant without being clinically significant, that she

does not have expertise in clinical significance, and that she does not know whether the

purported cognitive benefits reported in the Madison Memory Study were clinically significant.

(Matuschak Decl. Ex. D, Kurzer Tr. at 72:9 – 73:8, 198:24 – 200:14, 212:15-20, 228:17-20; see

also Graham Decl. (ECF No. 225) Ex. F, FTC Guidance at QUI-FTCNY-00189215 (noting that

the results of a clinical trial should “translate into a meaningful benefit for consumers” because

“[s]ome results that are statistically significant may still be so small that they would mean only a

trivial effect on consumer health”).) Dr. Kurzer’s deficiency of experience or knowledge in

cognition renders her unqualified to offer opinions on whether Prevagen causes meaningful

improvement in memory or provides other cognitive benefits. See Loyd, 2011 WL 1327043, at

*5 (excluding testimony because the expert’s experience as an internist and infectious disease

specialist did not translate to an understanding of the causes of neurological disorders); In re

Mirena IUD Prods. Liab. Litig., 169 F. Supp 3d at 439 (finding that although a biomedical

engineer was qualified to opine on a mechanism by which the device might perforate a uterus, he

was unqualified to opine on the device’s effects on uterine tissue because he was not a medical

doctor and had no experience in hormonal contraception or the effects of hormones on tissue.)

        In determining whether an expert is qualified, courts also consider whether “other experts

exist who are more specifically qualified and who are nonetheless not in the employ of the

company or industry whose practices are being challenged.” Stagl, 117 F.3d at 81. Plaintiffs’



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expert, Dr. Mary Sano, has extensive education and experience in cognition. For example, Dr.

Sano has a Ph.D. in Psychology, is Director of Alzheimer’s Disease Research at Mount Sinai

School of Medicine, has designed, conducted, and evaluated clinical trials in the areas of

cognitive impairment in aging, mild cognitive impairment, and dementia, and published articles

related to cognition in more than 200 peer-reviewed publications. (Soberats Decl. (ECF No.

258) Ex. A, Sano Aff. Report ¶¶ 1-10.) In sharp contrast to Dr. Sano, Dr. Kurzer admits that she

is not an expert in cognitive function, as evidenced by her lack of knowledge, experience,

training, or education in this field, and her opinions are based on scientific literature, which she

reviewed solely in preparation for this litigation. See In re Mirena IUS Levonorgestrel-Related

Prods. Liab. Litig., 341 F. Supp. 3d 213, 240 (S.D.N.Y. 2018) (noting that to determine whether

an expert has the relevant experience, courts have considered the degree to which that experience

was developed for litigation). (See also Matuschak Decl. Ex. D, Kurzer Tr. at 87:14 – 99:2.) Dr.

Kurzer does not employ the same level of intellectual rigor that characterizes the practice of an

expert in the field of cognition. See In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d at 540.

       Because the field of cognition is not within the reasonable confines of her expertise, the

Court should exclude Dr. Kurzer’s opinions related to cognition and memory, including on

whether Prevagen improves memory or provides other cognitive benefits. See Collado, No. 11-

CIV-9041, 2017 WL 4533772, at *7 (“Rule 702 mandates that experts “stay within the

reasonable confines of their subject area, and cannot render expert opinion on an entirely

different field or discipline.” (internal quotation marks and citation omitted).

VII.   DR. KURZER’S ALTERNATIVE ANALYSIS OF THE MADISON MEMORY
       STUDY SHOULD BE EXCLUDED

       Dr. Kurzer’s opinion that the Madison Memory Study’s results should be evaluated

logically is not reliable under Rule 702 and should be excluded. See In re LIBOR Based Fin.


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Instruments Antitrust Litig., 299 F. Supp. 3d at 467 (stating that an indicia of reliability is

whether the testimony is the product of reliable principles and methods). In her report, Dr.

Kurzer states that “it is more useful to look at the data [from the nine reported Cogstate measures

of the Madison Memory Study] and draw conclusions logically.” (Graham Decl. (ECF No. 225)

Ex. R, Kurzer Aff. Report ¶ 48.) However, Dr. Kurzer concedes that there are no standards for

how to draw conclusions logically and instead relies on her “common sense.” (Matuschak Decl.

Ex. D, Kurzer Tr. at 204:20 – 207:25.) Dr. Kurzer’s own logic or common sense has not been

tested, subjected to peer review and publication, subjected to the existence or maintenance of

standards controlling its operation, nor has it gained acceptance in the relevant scientific

community. See Amorgianos, 303 F.3d at 266; Tramontane v. Home Depot USA, Inc., No. 15-

CV-8528, 2018 WL 4572254, at *5 (S.D.N.Y. Sept. 24, 2018) (finding that an expert’s testimony

is unreliable because “there is no scientific methodology on which [the expert’s] theory can be

tested”). Although Dr. Kurzer states that an approach based on logic is used by others in the

nutrition field, she acknowledges that others may apply logic differently and reach different

conclusions. (Matuschak Decl. Ex. D, Kurzer Tr. at 207:18-25.) Moreover, because she is not

qualified as an expert in cognition or memory, Dr. Kurzer cannot opine on whether logic is used

in the relevant fields to determine whether Prevagen improves memory or provides other

cognitive benefits.

       A method of analyzing data based on just Dr. Kurzer’s logic or common sense is

unreliable. See, e.g., In re Mirena IUD Prods. Liab. Litig., 169 F. Supp. 3d at 440 (finding the

expert’s methodology to be unreliable because it was “devoid of objective standards that can be

tested by others” and therefore could not be “recreated or reviewed”); In re Mirena IUS

Levonorgestrel-Related Prods. Liab. Litig., 341 F. Supp. 3d at 247 (finding that without knowing



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how the criteria is weighted, a methodology was “virtually standardless and . . . application[] to a

particular problem can prove unacceptably manipulable”); In re Gen. Motors LLC Ignition

Switch Litig., No. 15-CV-1626, 2017 WL 6729295, at *7 (S.D.N.Y. Dec. 28, 2017) (“An

expert’s reliance primarily upon his own senses . . . is generally not scientific and does not

amount to reliable expert testimony.” (internal quotation marks omitted)). For example, Dr.

Kurzer originally opined that the results of a particular subgroup showed a benefit for Prevagen

because it would be unlikely by chance that seven out of the nine Cogstate tests would have

statistically significant results or trend (not statistically significant) in favor of Prevagen.

(Graham Decl. (ECF No. 225) Ex. R, Kurzer Aff. Report ¶ 52.) At her deposition, Dr. Kurzer

conceded that she had misinterpreted the results for two Cogstate tests and later amended her

conclusion to be only five out of nine tests in favor of Prevagen. (Matuschak Decl. Ex. D,

Kurzer Tr. at 215:1 – 223:17). However, despite this increase in the number of tests not in favor

of Prevagen, her conclusion that this subgroup shows a benefit for Prevagen remained

unchanged. (Id. at 223:18 – 25:8.) Because Dr. Kurzer is “using [her] logic [and] not using a

statistical analysis,” there are no parameters or principles to indicate how she analyzed the data,

weighed the different the factors, or interpreted the results to draw a conclusion. (Matuschak

Decl. Ex. D, Kurzer Tr. at 206:12-13.) Dr. Kurzer’s conclusion that there is a benefit associated

with Prevagen, based on her logic alone, is unreliable; it is essentially ipse dixit and should be

excluded. See Tourre, 950 F. Supp. 2d at 677 (ruling that expert’s opinion based on “economic

logic” was inadmissible ipse dixit because it was not based on a reliable methodology); Bocoum

v. Daimler Trucks North Am. LLC, No. 17-CIV-7636, 2022 WL 902465, at *11 (S.D.N.Y. Mar.

28, 2022) (noting that subjective methodology can serve as grounds to reject expert testimony).




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VIII. DR. GOODMAN’S TESTIMONY REGARDING POTENTIAL MECHANISMS
      OF ACTION SHOULD BE EXCLUDED AS UNRELIABLE, IRRELEVANT,
      PREJUDICIAL, AND OUTSIDE HIS AREA OF EXPERTISE

       Defendants propose to present the testimony of Dr. Richard Goodman, a research

professor who conducted some laboratory work on apoaequorin, an active ingredient in

Prevagen, at Defendants’ behest. (See Matuschak Decl. Ex. E, Goodman Aff. Report;

Matuschak Decl. Ex. F, Goodman Rebuttal Report.) Dr. Goodman purports to be an expert on

food allergy, allergenicity, safety of genetically engineered organisms, and food safety in

general. (Matuschak Decl. Ex. E, Goodman Aff. Report ¶¶ 6-15.) He intends to present

testimony regarding his laboratory study on apoaequorin. Specifically, Dr. Goodman was the

principal investigator and author of a report on a study that evaluated apoaequorin’s potential

allergenicity by testing it in vitro. (See id. ¶ 19.) As Dr. Goodman confirms, this allergenicity

study was designed to determine whether apoaequorin was stable in the presence of pepsin, thus

having “a greater probability of causing food allergic reactions.” (See id. ¶ 34.) Dr. Goodman

intends to present testimony that, contrary to the assertions of Plaintiffs’ expert, this study cannot

be used to show how apoaequorin might be processed in the human digestive system when taken

orally – i.e., what happens to apoaequorin when consumers swallow a Prevagen pill. (See, e.g.,

id. ¶ 38 (noting that his in vitro study “was not designed to ascertain what digestive products

were generated” when apoaequorin was consumed).) Beyond testimony Dr. Goodman might

offer as to his conduct of this study and his summary of the results, his testimony would be

speculative, unreliable, and prejudicial, and it should therefore be excluded. See Fed. R. Evid.

702 (noting that an expert may only be qualified to offer an opinion if the testimony “will help

the trier of fact to understand the evidence or determine a fact in issue”).

        First, Defendants and Dr. Goodman have conceded that his intended testimony is limited

to his in vitro analysis of apoaequorin. Thus, they have signaled their intent to abandon the
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multiple other issues on which Dr. Goodman opines in his expert reports. They should be held to

that commitment. Second, Dr. Goodman’s proposed testimony goes well beyond the scope of

this case. To the extent that Defendants intend to present Dr. Goodman to testify regarding how

proteins that are not apoaequorin can be absorbed and/or can cause an allergic reaction when

consumed orally, such opinions are irrelevant and should be excluded under Rules 402, 403, and

702 of the Federal Rules of Evidence. Third, to the extent that Dr. Goodman purports to opine

about the potential absorption or bioactivity of apoaequorin, such testimony is unreliable because

(a) he concedes he is not an expert on those topics and (b) he concedes that he has not reviewed

or presented evidence on these topics specific to apoaequorin. Dr. Goodman’s conclusions are

therefore both unreliable and outside the scope of his expertise. The Supreme Court has noted

that exclusion of expert testimony is warranted where, as here, “there is simply too great an

analytical gap between the data and the opinion proffered.” Joiner, 522 U.S. at 146.

       A.      Defendants and Dr. Goodman Have Limited the Scope of His Testimony to
               His Apoaequorin Allergenicity Study

       Defendants concede that the point of Dr. Goodman’s testimony is that “apoaequorin is

non-allergenic and that Plaintiffs are misinterpreting the results of his lab’s work.” (7/19/22

Letter from Castello to Hon. Louis L. Stanton (ECF No. 286) at 3.) Dr. Goodman confirmed this

understanding of the scope of his proposed testimony during his deposition:

       Q. Sorry, but you’re here to testify about plausible ways in which apoaequorin, or
       bioactive products of apoaequorin, could survive digestion and be absorbed.

       MR. GRAHAM: Objection.

       BY MS. MATUSCHAK: Correct?

       MR. GRAHAM: No, objection. I think that’s mischaracterizing the scope of Dr.
       Goodman’s report.

       THE WITNESS: Yeah. My understanding is I’m here to talk about the stability
       of the protein in the SGF assay [that I performed on apoaequorin], and really as it
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         relates to allergenicity. It is not to say here we have evidence of absorption or
         bioactivity or whatever. That’s not my expertise, and I could only speculate on
         those things.

(Matuschak Decl. Ex. G, Goodman Tr. at 141:25-142:14.) The portions of Dr. Goodman’s

report that do not address his laboratory work studying the potential allergenicity of apoaequorin

should be excluded from the record and he should be precluded from testifying about those

issues at trial. 3

         B.          Dr. Goodman’s Discussion of Proteins That Are Not Apoaequorin Should Be
                     Excluded as Irrelevant and Prejudicial

         Dr. Goodman premises much of his expert reports on a discussion of proteins that have

different biological properties from those of apoaequorin. He discusses how these proteins might

survive digestion and how they might have a biological effect. He does not, however, make any

attempt to determine whether these proteins share the same digestion characteristics as

apoaequorin, such that apoaequorin would be expected to perform in the same way in digestion

and absorption. His discussion of other proteins should therefore be excluded.

         The bulk of Dr. Goodman’s discussion of other proteins focuses on proteins that can

cause an allergic reaction or a celiac effect. That is not surprising, because allergens and celiac

proteins are the focus of his expertise. (See id. at 21:20-22.) These proteins are not, however,

relevant to the absorption or bioactivity of apoaequorin. As Dr. Goodman has conceded, “the

digestion characteristics of apoaequorin are similar to those of common non-allergenic dietary

proteins.” (Matuschak Decl. Ex. G, Goodman Tr. at 95:5-12 (emphasis added).) Because the

digestion characteristics of allergenic and non-allergenic dietary proteins differ, and because Dr.

Goodman fails to explain how they might be similar or analogous, the digestion characteristics of


3
 The Court should therefore preclude Dr. Goodman from testifying with respect to the issues
addressed in Paragraphs 46-79 of his Initial Report and Paragraphs 3-5 and 14-41 of his Rebuttal
Report.
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allergenic proteins have no bearing on any issue in this case. The pertinent inquiry here is

whether apoaequorin, a non-allergenic protein, can have a therapeutic effect on the human body.

But Defendants propose to offer Dr. Goodman’s testimony as to allergenic proteins. As Dr.

Goodman concedes, the digestion characteristics of non-allergenic proteins are different from the

characteristics of the substances he cites. His discussion of such proteins therefore has no

bearing on this case, and should be excluded. Where, as here, a party seeks to admit expert

testimony regarding scientific data or studies, the proffered information must “support the

conclusions reached,” or be excluded. United States v. Ray, No. 20 Cr. 110 (LJL), 2022 WL

292800, at *8 (S.D.N.Y. Feb. 1, 2022) (quoting Amorgianos, 303 F.3d at 266; see also Daubert,

509 U.S. at 591-92 (“Rule 702’s ‘helpfulness’ standard requires a valid scientific connection to

the pertinent inquiry as a precondition to admissibility.”).

       For example, Dr. Goodman’s report discusses the digestion characteristics of the peanut

allergen Ara h 2. (See Matuschak Decl. Ex. E, Goodman Aff. Report ¶¶ 68-69, 72; Matuschak

Decl. Ex. F, Goodman Rebuttal Report ¶ 16.) Yet Dr. Goodman acknowledged in his deposition

that Ara h 2 and apoaequorin have materially different characteristics that would affect their

stability in digestion, and he made no effort to explain how the characteristics of Ara h 2 could

be analogized to apoaequorin. (Matuschak Decl. Ex. G, Goodman Tr. at 89:15 – 90:19.)

Elsewhere, Dr. Goodman’s report discusses the absorption of celiac peptides (see Matuschak

Decl. Ex. E, Goodman Aff. Report ¶ 48), but at his deposition he conceded that he is not aware

of apoaequorin producing such peptides (Matuschak Decl. Ex. G, Goodman Tr. at 105:10-25.)

Indeed, Dr. Goodman made clear that he was not using his discussion of allergens to draw any

conclusions whatsoever about apoaequorin. (Id. at 200:1 – 201:13.) Testimony regarding these

other proteins would accomplish nothing more than jury confusion. See, e.g., Aiyer, 33 F.4th at



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126 (upholding district court’s exclusion of expert testimony under Rules 702 and 403 where it

would have risked “clouding” the determinations at issue “and would have potentially confused

or misled the jury”) (internal quotation marks omitted); United States v. Litvak, 808 F.3d 160,

185-86 (2d Cir. 2015) (upholding exclusion of expert testimony where “potential confusion from

such testimony might have outweighed any probative value”); United States v. Ray, 2022 WL

292800, at *14 (excluding expert testimony in light of “distinct danger” it would confuse jury).

        Dr. Goodman’s discussion of proteins that are not apoaequorin also includes proteins that

are found in breast milk. First, most, if not all, such proteins discussed by Dr. Goodman are

allergens, which apoaequorin is not. Second, Dr. Goodman was unaware of proteins that digest

as rapidly as apoaequorin that made it into the bloodstream or into breast milk. (Matuschak

Decl. Ex. G, Goodman Tr. at 132:24 – 133:11.) Third, Dr. Goodman fails to explain why the

appearance of allergens in breast milk would indicate that a non-allergen would appear in the

brain. Testimony regarding other proteins being found in breast milk would be so far afield of

the issues in this case that it would result in a trial within a trial about the absorption of

substances that are simply not at issue. Courts routinely exclude expert testimony where a party

seeks to draw a comparison with scientific phenomena or studies only tenuously related to the

relevant inquiry. See, e.g., In re Fosamax Products Liability Litigation, 645 F. Supp. 2d 164,

198 (S.D.N.Y. 2009) (excluding proffered expert testimony as to “supposed similarities”

between medical condition at issue, which was associated with a certain substance, and a

separate medical condition associated with a related substance, where proffered testimony failed

to establish an adequate link between the two conditions, such that its probative value would be

“substantially outweighed by the corresponding waste of time, danger of confusion, and unfair

prejudice”); United States v. W.R. Grace, 455 F. Supp. 2d 1181, 1191-94 (D. Mont. 2006) (in



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case where defendant was indicted in connection with alleged release of asbestos, excluding

prosecution study showing correlation between certain health effects and certain “pathways” of

asbestos exposure, where proffered study was materially distinguishable and there was a risk jury

would give it “undue weight”).

       C.      Dr. Goodman Lacks the Expertise to Testify About the Absorption or
               Bioactivity of Apoaequorin

       Dr. Goodman purports to be an expert on food allergy, allergenicity, safety of genetically

engineered organisms, and food safety in general. (Matuschak Decl. Ex. E, Goodman Aff.

Report ¶¶ 6-15; see also Matuschak Decl. Ex. G, Goodman Tr. at 21:20 – 22:13, 22:14 – 23:2.)

He conceded that he is not an expert on protein absorption outside the context of allergens and

celiac peptides. (Id. at 36:1-8, 36:15-19; see also id. at 215:5-6 (“I’m not an expert in absorption

of different proteins and peptides”).) He also conceded that, outside the context of safety, food,

and potential allergenicity, he is not an expert on biochemistry as it relates to “how each protein

is folded or produced or what it will do . . . .” (Id. at 39:13 – 40:1.) He specifically confirmed

that whether apoaequorin could have a therapeutic or bioactive effect was outside his expertise.

(Id. at 224:20 – 225:6.) Finally, he conceded that apoaequorin is neither an allergen nor a celiac

gluten peptide, nor does it digest into celiac gluten peptides. (Id. at 88:10-11, 103:16-23, 105:1-

9, 153:5-7.) Dr. Goodman therefore does not have expertise to opine about how apoaequorin

might be absorbed or how it might have a biological effect in humans, and he should be

precluded from testifying about these issues. See Quintanilla, 2009 WL 320186, at *1-2

(affirming exclusion of expert testimony where witness lacked the relevant expertise).

       D.      Dr. Goodman Should Be Precluded From Offering Speculative Testimony
               About Potential Mechanisms of Action

       Dr. Goodman’s reports speculate about how apoaequorin might work, but they are bereft

of any scientific reasoning or evidence tied to analysis of apoaequorin. As noted above, Dr.

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Goodman is not qualified to discuss how apoaequorin might work. Even if he were, his

testimony is so speculative that the jury should be shielded from it. See Boucher v. U.S. Suzuki

Motor Corp., 73 F.3d 18, 21 (2d Cir. 1996) (noting that “expert testimony should be excluded if

it is speculative or conjectural”). For example, Dr. Goodman discusses “bioactive peptides” –

the concept that some peptides that remain following protein digestion might have some

physiological function. (Matuschak Decl. Ex. E, Goodman Aff. Report ¶¶ 63-65.) He conceded,

however, that he did not determine what products of apoaequorin might exist following

digestion. (Matuschak Decl. Ex. G, Goodman Tr. at 140:19 – 141:2.) He thus could not opine

on whether apoaequorin, following digestion, produces amino acids, peptides, or both, and if so,

whether they share the characteristics of peptides that he identifies as “bioactive.” To permit

speculative testimony about bioactive peptides based solely on observations regarding other

proteins, without tying those observations to the characteristics of apoaequorin, would be leading

the jury down a path that is based on conjecture, not science. Such testimony should be

excluded. See In re Fosamax Prods. Liab. Litig., 645 F. Supp. 2d at 198.

IX.    DR. GORTLER’S TESTIMONY SHOULD BE EXCLUDED IN ITS ENTIRETY

       Defendants also intend to present the testimony of a pharmacologist, Dr. David Gortler,

in rebuttal to testimony anticipated by one of Plaintiffs’ experts, Dr. Jeremy Mark Berg.

(Matuschak Decl. Ex. H, Gortler Rebuttal Report ¶ 2.) Dr. Gortler conceded that the main point

of his testimony is the (unremarkable) proposition that a mechanism of action need not be known

in order for a drug or dietary supplement to work. (Id. ¶ 37.) Dr. Gortler also argued that a

mechanism of action need not be known for a drug to obtain FDA approval. (Id. ¶ 38.) Dr. Berg

never asserted that a mechanism of action need be known for a drug or supplement to work, nor

did he assert anything about FDA requirements. Therefore, this testimony would be improper

rebuttal and should be excluded on that basis. See ProBatter Sports LLC v. Sports Tutor, Inc.,
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No. 3:05-cv-10975, 2020 U.S. Dist. LEXIS 257178, at *7 (Aug. 21, 2020) (precluding rebuttal

expert from testifying regarding non-rebuttal issues). The remaining testimony Dr. Gortler

wishes to present is premised on points that are irrelevant to the case or, at a minimum, would

serve to mislead the jury and waste its time. Dr. Gortler should therefore be precluded from

testifying.

        A.     Dr. Gortler’s Discussion About Other Drugs That Work, and Unsupported
               Speculation That Apoaequorin Might Work, Should Be Excluded

        Much of Dr. Gortler’s opinion focuses on drugs and substances other than apoaequorin

that have an effect on the body, some of which have a known mechanism of action and some of

which do not. Yet he never ties these discussions to any property of apoaequorin. Indeed, he

noted in his deposition, “I haven’t done any clinical or analytical analyses whatsoever on

apoaequorin, Prevagen, et cetera.” (Matuschak Decl. Ex. I, Gortler Tr. at 31:7-9.) Testimony

regarding drugs or supplements that are not Prevagen, without addressing whether such drugs or

supplements have similar properties to Prevagen, would be irrelevant and therefore waste the

jury’s time; would confuse the issues presented to the jury; and would be prejudicial. For these

reasons, these opinions should be excluded.

        Dr. Gortler opined at length about a number of substances that are not apoaequorin, but

he made no effort to determine if they have any similarities to apoaequorin. For example, his

expert report discusses a number of prescription prodrugs, which he defines as “compounds that

are inactive in their parent form but following metabolism are chemically transformed into an

active drug.” (Matuschak Decl. Ex. H, Gortler Rebuttal Report ¶ 45.) Yet Dr. Gortler does not

cite evidence that apoaequorin is a prodrug, and he conceded at his deposition that – as far as he

knew – none of the prodrugs he cited was even a protein, peptide, or amino acid. (Matuschak

Decl. Ex. I, Gortler Tr. at 106:19 – 107:6.) Nor were any of those prodrugs used to treat memory


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or cognition. (Id. at 107:7-10.) Similarly, Dr. Gortler discusses microorganisms that, despite

their large size, can survive in the stomach. (Matuschak Decl. Ex. H, Gortler Rebuttal Report ¶

58.) However, none of these microorganisms is a protein or peptide, and Dr. Gortler could not

opine about their size, apoaequorin’s size, or Prevagen’s size. (Matuschak Decl. Ex. I, Gortler

Tr. at 123:6 – 125:7.) Indeed, Dr. Gortler was unable to draw an analogy between these

microorganisms and apoaequorin. Testimony about these substances is therefore irrelevant to

this case. To the extent that Dr. Gortler seeks to use these substances to establish a mechanism

of action for apoaequorin, he has failed to explain how apoaequorin shares characteristics with

these substances that would cause the same effects. His testimony, therefore, is irrelevant and

should be excluded. See Boucher, 73 F.3d at 21 (noting expert testimony should be excluded if it

is “in essence an apples and oranges comparison”) (internal quotation marks and citation

omitted); see also In re Fosamax Prods. Liab. Litig., 645 F. Supp. 2d at 198; Borsack v. Ford

Motor Co., No. 04 Civ. 3255 (PAC), 2009 WL 5604383, at *1-3 (S.D.N.Y. Feb. 3, 2009)

(excluding as irrelevant expert testimony regarding mechanism of product that had “substantial

differences” with product at issue).

       B.      Dr. Gortler’s Discussion of FDA Requirements With Respect to Dietary
               Supplements Should Be Excluded as Irrelevant

       Dr. Gortler opines that the FDA does not require dietary supplements to have a known

mechanism of action, and that the FDA does not regulate dietary supplements. (Matuschak Decl.

Ex. H, Gortler Rebuttal Report ¶¶ 38, 89.) This testimony is irrelevant to any issue in the case

and should be excluded. FDA regulation does not have any impact on the issues for the jury to

decide, which relate to whether Defendants’ advertising claims were permissible under the FTC

Act and New York consumer protection statutes. See supra Section III.A. Thus, Dr. Gortler’s




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statements on what the FDA requires are irrelevant to any issue in this case and should be

excluded.

       C.      Dr. Gortler’s Discussion of Calcium’s Role in Memory and Alzheimer’s
               Disease Should Be Excluded as Irrelevant and Unreliable

       Defendants argue that Prevagen is not intended to treat any disease, yet they seek to

present extensive expert testimony from Dr. Gortler regarding Alzheimer’s disease, noting that

“Dr. Gortler’s discussion of Alzheimer’s disease linked a cause of memory loss (excess calcium)

and apoaequorin’s efficacy (its ability to bind and reduce calcium).” (7/19/22 Letter from

Castello to Hon. Louis L. Stanton (ECF No. 286).) This purported relationship assumes that

apoaequorin is effective because it binds and reduces calcium in the brain 4 – a theory that

Defendants once advanced and then abandoned, at least when it suited their position before the

FDA. (See Matuschak Decl. Ex. D, Kurzer Tr. at 278:17-23 (describing the calcium binding

theory as one of the “original hypotheses”); Matuschak Decl. Ex. J, Schwartz Tr. at 256:19 –

257:7 (noting that the apoaequorin calcium-binding theory was “one school of thought that was

more prevalent, I think, earlier”).) Indeed, Defendants argued in a submission to the FDA, citing

Dr. Goodman’s allergenicity study, that “following oral consumption by humans, Apoaequorin is

likely to be completely hydrolyzed to individual amino acids that will be absorbed in a process

similar to other dietary proteins.” (See Soberats Decl. Ex. L, Berg Aff. Report ¶ 29.) Moreover,

Dr. Gortler conceded, in order to improve memory and cognition through calcium-binding,

apoaequorin must be present in the brain:

       Q. . . . One of the possible ways that [apoaequorin] improves memory and
       cognition is through calcium-binding. Is that your opinion?

       A. Yes.

4
 Although Dr. Gortler’s discussion of calcium ventures well beyond apoaequorin, his
apoaequorin-specific calcium discussion relates to apoaequorin’s effect on the brain. (See
Matuschak Decl. Ex. H, Gortler Rebuttal Report ¶¶ 63-68, 79-80.)
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         Q. And in order to have an effect on memory or cognition through calcium-
         binding, apoaequorin would need to be present in the brain; is that correct?

         A. Yes.

(Matuschak Decl. Ex. I, Gortler Tr. at 86:24 – 87:7.) 5 Defendants have likewise confirmed that

apoaequorin is unlikely to pass through the gastrointestinal tract intact. 6 As such, apoaequorin

cannot reach the brain and therefore cannot have a therapeutic, calcium-binding effect on brain

cells.

         Defendants’ other experts agree that orally administered apoaequorin is unlikely to enter

the bloodstream and cross the blood-brain barrier. Indeed, one of Defendants’ current experts

has offered the opinion that “it is unlikely that intact [apoaequorin] is absorbed and enters the

brain.” (See Graham Decl. (ECF No. 225) Ex. R, Kurzer Aff. Report ¶ 56.) Another of

Defendants’ experts testified that the concept of apoaequorin breaking down into amino acids in

the gastrointestinal tract “makes sense.” (Matuschak Decl. Ex. J, Schwartz Tr. at 260:7-18.)

Indeed, the evidence Dr. Gortler cites in support of apoaequorin having some positive effect on

brain cells is based on a rat study in which apoaequorin was injected directly into their brains –

not consumed orally, as Prevagen is. (Matuschak Decl. Ex. H, Gortler Rebuttal Report ¶ 84.)




5
  Dr. Gortler did speculate that Prevagen’s “substrates and/or its metabolites may exert
pharmacological activity through calcium signal binding cites” (Matuschak Decl. Ex. H, Gortler
Rebuttal Report ¶¶ 41, 91), but this speculation was not backed by any evidence specific to
apoaequorin. (See Matuschak Decl. Ex. I, Gortler Tr. at 103:23 – 104:22.) This speculative
testimony is inadmissible. See Boucher, 73 F.3d at 21.
6
  Defendants have presented a brand new theory in Dr. Gortler’s rebuttal report – that
apoaequorin could somehow cross the blood-brain barrier through cholesterol binding. This
position is inconsistent with the positions taken by Defendants’ other experts. And, as discussed
in the next section, this testimony should be excluded because it is speculative, based on hearsay,
not based on Dr. Gortler’s independent analysis, and because at his deposition, Dr. Gortler could
not answer the most basic questions about his sources.
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Because Dr. Gortler has failed to explain why orally consumed apoaequorin would have the

same effect on human brain cells as apoaequorin injected into a rat’s brain, this testimony should

be excluded as unreliable. Cf. Wade-Greaux v. Whitehall Labs., Inc., 874 F. Supp. 1441, 1484-

85 (D.V.I. 1994), aff’d without opinion, 46 F.3d 1120 (3d Cir.1994) (excluding expert testimony

purporting to show a link between the drug at issue and certain birth defects, where the testimony

“ignore[d] the question of therapeutic dosage,” even though the “core issue” was whether the

drug caused defects “at therapeutic doses,” such that expert’s testimony would likely “confuse,

mislead and overwhelm the jury”).

       Simply put, Dr. Gortler’s discussion of Alzheimer’s disease and calcium signaling is

unreliable, irrelevant, and his testimony would be confusing and therefore prejudicial. The

pathology of Alzheimer’s disease has no bearing on whether Prevagen can improve memory and

cognition in healthy adults. It does not have “any tendency to make a fact more or less probable

than it would be without the evidence.” Fed. R. Evid. 401. Defendants should not be permitted

to present such confusing information to the jury, particularly where, as here, the testimony is

directly at odds with Defendants’ own admissions.

       D.      Dr. Gortler’s Speculative “Active Transport” Testimony Should Be Excluded
               as Unreliable

       Dr. Gortler speculates that consuming apoaequorin together with dietary cholesterol “has

the potential to ‘greatly facilitate’ the uptake of intact protein from the gut.” (Matuschak Decl.

Ex. H, Gortler Rebuttal Report ¶ 64.) This testimony should be excluded as unreliable. Dr.

Gortler made clear at his deposition that he does not possess the knowledge or expertise to testify

regarding this mechanism of action theory, and review of literature alone does not qualify one as

an expert, particularly where, as here, the literature in question is not understood by the expert.

See Wade-Greaux, 874 F. Supp. at 1476 (noting that review of selected literature did not qualify


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witness to testify as an expert). Dr. Gortler is merely serving as a vehicle to attempt to present

hearsay material regarding an analysis he did not conduct and could not explain. For example,

when asked how the consensus sequence used in the cited reference was discovered, Dr. Gortler

said, “You’d have to ask the authors of the article.” (Matuschak Decl. Ex. I, Gortler Tr. at 135:5-

8.) Additionally, Dr. Gortler presented a figure in his report that purported to identify

cholesterol-binding sites that allegedly “assist with active transport into the blood stream or into

the brain.” (Matuschak Decl. Ex. H, Gortler Rebuttal Report ¶ 65.) Dr. Gortler confirmed that

this figure was taken verbatim out of a publication and did not represent his own analysis

predicting cholesterol-binding sites. (See Matuschak Decl. Ex. I, Gortler Tr. at 134:3-24.) When

asked if the “X” in the figure he copied into his report could stand for any amino acid, Dr.

Gortler said:

       A.     I don’t know. I would refer to the peer reviewers who wrote this out. If it
       was done by some kind of questionable technology or some kind of questionable
       methodology, I would leave that for the – for either the authors or the peer
       reviewers to say something.

(Id. at 139:24 – 140:6.) Dr. Gortler could not answer specific, basic questions about the

methodology used to draw conclusions about cholesterol binding, noting that he is not an expert

in that scientific methodology. (See, e.g., id. at 134:3 – 139:19.)

       Experts cannot be used as a vehicle to introduce hearsay evidence just by having them

quote a reference they do not understand. See Au New Haven v. YKK Corp., No. 15-cv-3411,

2019 U.S. Dist. LEXIS 45044, at *30 (S.D.N.Y. Mar. 19, 2019) (noting that “parties . . . cannot

use experts as a Trojan Horse of hearsay”); Rotman v. Progressive Ins. Co., 955 F. Supp. 2d 272,

283 (D. Vt. 2013) (noting that it is “appropriate for district courts to recognize the risk that a

particular expert might become nothing more than a transmitter of testimonial hearsay and

exercise their discretion in a manner to avoid such abuses”) (citation omitted). For these reasons,

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Dr. Gortler should be precluded from testifying about the issues raised in paragraphs 63-68 of his

expert report.

       E.        Dr. Gortler Should Be Precluded From Opining About the Madison Memory
                 Study

       Dr. Gortler opines about the Madison Memory Study in his rebuttal report. (Matuschak

Decl. Ex. H, Gortler Rebuttal Report ¶¶ 86-88.) But at his deposition, he made clear that he did

not intend to offer that opinion at trial in this matter. (Matuschak Decl. Ex. I, Gortler Tr. at

44:11-13 (“I wasn’t asked to give an opinion on the Madison Memory Study, and I don’t have an

opinion.”), 180:11-22 (noting that he is not prepared to offer an opinion on the Madison Memory

Study other than that his report “just, for lack of a better word, parroted some of the sections of

the study itself”).) Dr. Gortler, therefore, should be precluded from offering any opinion

regarding the Madison Memory Study.

       F.        Dr. Gortler Should Be Precluded From Testifying That Prevagen is Safe

       Dr. Gortler opines that Prevagen is safe. (Matuschak Decl. Ex. H, Gortler Rebuttal

Report ¶¶ 78, 88-89.) Such testimony is not relevant to any issue in this case, which is about

whether Defendants’ advertising claims for Prevagen are substantiated. Testimony regarding the

purported safety of Prevagen would distract the jury and waste its time considering an issue that

has nothing to do with substantiation of advertising claims. Emphasis on the conclusion that

Prevagen is safe would create the illusion that there is some legitimacy to Defendants’

advertisements of their products. It should therefore in the alternative be excluded under Rule

403. 7 See Luitpold Pharms., Inc. v. ED. Geistlich Soghne A.G. Fur Chemische Industrie, No.



7
 Drs. Katz, Schwartz, and Kurzer also state that Prevagen and/or apoaequorin are safe. For the
same reasons, their testimony on safety should also be excluded. (Graham Decl. (ECF No. 225)
Ex. O, Katz Aff. Report ¶ 14; Graham Decl. (ECF No. 225) Ex. R, Kurzer Aff. Report ¶ 36;
Graham Decl. (ECF No. 225) Ex. W, Schwartz Aff. Report ¶¶ 59-61.)
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11-cv-681, 2015 U.S. Dist. LEXIS 123591, at *20 (S.D.N.Y. Sept. 16, 2015) (in precluding

expert testimony, noting that because the proposed testimony was “untethered to the contractual

standard at issue,” it was “unhelpful and misleading to the trier of fact” and that “[a]ny probative

value in the opinions is substantially outweighed by the danger that the jury would be seriously

misled”).

X.     DRS. KURZER, SCHWARTZ, AND KATZ SHOULD BE PRECLUDED FROM
       TESTIFYING REGARDING APOAEQUORIN’S POTENTIAL MECHANISMS
       OF ACTION

       Drs. Kurzer, Schwartz, and Katz each purport to opine regarding potential mechanisms of

action for apoaequorin, but their testimony is not actually tied to apoaequorin and is far too

speculative to be of value to the jury. (Graham Decl. (ECF No. 225) Ex. R, Kurzer Aff. Report

¶¶ 54-57; Graham Decl. (ECF No. 225) Ex. W, Schwartz Aff. Report ¶¶ 13, 17, 56-64, 69-75,

78-79; Graham Decl. (ECF No. 225) Ex. X, Schwartz Rebuttal Report ¶¶ 21, 27-36; Graham

Decl. (ECF No. 225) Ex. O, Katz Aff. Report ¶¶ 10-14, 67-70; Graham Decl. (ECF No. 225) Ex.

P, Katz Rebuttal Report ¶¶ 3, 6-8, 11-17.) Given their experts’ widely varying, and sometimes

contradictory, opinions, it appears that Defendants do not intend to present a unified theory about

Prevagen’s mechanism to the jury. Rather, it appears they intend to throw a series of speculative

theories at the jury in hopes that the confusion will create the illusion that there is something

relevant in this mess. There is not. Each of these experts concedes that the mechanism of action

for apoaequorin is not known, a fact that is undisputed in this case. Each of these experts then

offers speculation about how apoaequorin might cause an effect based on how other substances

work, without ever tying that speculation to any characteristic of apoaequorin. The fact, for

example, that a seaweed extract has a therapeutic effect on the body, even though nobody knows

how it works, does not make it any more likely that apoaequorin would have an effect on

memory or cognition – unless one can point to some similarity between the seaweed extract and
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apoaequorin. They instead cite numerous other substances that do not share characteristics with

apoaequorin, and speculative theories that are not based on evidence related to apoaequorin.

Defendants should not be permitted to waste the jury’s time with this confusing and irrelevant

testimony. See Boucher, 73 F.3d at 21 (noting expert testimony should be excluded if it is based

on unrealistic and contradictory assumptions) (citing Shatkin v. McDonnell Douglas Corp., 727

F.2d 202, 208 (2d Cir. 1984)).

       A.      Dr. Kurzer’s Proposed Mechanism of Action Testimony is Unreliable,
               Irrelevant, and Prejudicial

       Dr. Kurzer acknowledges that the mechanism of action for Prevagen is not known.

(Graham Decl. (ECF No. 225) Ex. R, Kurzer Rebuttal Report ¶ 56.) She then goes on to discuss

mechanisms by which substances other than apoaequorin have an effect on the brain, either

through the so-called “gut-brain axis” or by creating so-called “bioactive peptides.” (Id. ¶¶ 56-

57.) Dr. Kurzer concedes that she cites zero evidence tying either of these mechanism theories to

apoaequorin. (See Matuschak Decl. Ex. D, Kurzer Tr. at 285:20 – 286:14, 288:18-21, 289:17-

21.) Her proposed testimony therefore is too tangential, and too speculative, to assist the jury in

making any finding that is relevant to this case. It should be excluded. See Mancuso v.

Consolidated Edison Co., 967 F. Supp. 1437, 1441 (S.D.N.Y. 1997) (citing Second Circuit

requirement “that expert testimony should be excluded if it is speculative or conjectural”) (citing

Boucher v. Suzuki, 73 F.3d 18, 21) (2d Cir. 1996)). Even if the Court were to deem Dr. Kurzer’s

proposed mechanism testimony somehow relevant, its use would confuse the jury and be more

prejudicial than it is helpful. Speculative testimony about the gut-brain axis and bioactive

peptides would necessarily imply that those mechanisms are relevant to apoaequorin, but none of

Defendants’ experts have presented evidence that they are.




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       B.      Dr. Schwartz’s Proposed Mechanism of Action Testimony is Unreliable,
               Irrelevant, and Prejudicial

       Dr. Schwartz, like Defendants’ other experts, attempts to create the illusion of a known

mechanism of action by talking about other drugs as well as the gut-brain axis theory – all

without tying any of these to any evidence related to apoaequorin. (Graham Decl. (ECF No.

225) Ex. W, Schwartz Aff. Report ¶¶ 13, 17, 62, 71-75; Graham Decl. (ECF No. 225) Ex. X,

Schwartz Rebuttal Report ¶¶ 28-30, 31-33.) For the reasons stated above, testimony regarding

other drugs, and regarding the gut-brain axis, is irrelevant and prejudicial.

       Dr. Schwartz’s only proposed testimony tied directly to apoaequorin’s mechanism of

action is the calcium-binding theory. (Schwartz Report ¶¶ 13, 17, 62, 79.) As with Dr. Gortler’s

discussion of the calcium-binding theory, Dr. Schwartz’s discussion is premised on Defendants’

old mechanism of action theory – that apoaequorin has a therapeutic effect by binding to calcium

in brain cells. (See Matuschak Decl. Ex. J, Schwartz Tr. at 255:4-18 (noting that his calcium-

binding theory was advanced by “Quincy investigators and Quincy scientists”).) Defendants

have since abandoned that theory, including in Dr. Kurzer’s expert report. (See Graham Decl.

(ECF No. 225) Ex. R, Kurzer Aff. Report ¶ 56.)

       Ultimately, Dr. Schwartz conceded that the only reason he discussed potential

mechanisms of action at all was to point out that a mechanism of action does not need to be

known in order for a drug to work. (See, e.g., Matuschak Decl. Ex. J, Schwartz Tr. at 265:14 –

266:3.) The fact that there are some substances out in the world that can have an effect on the

human body without a known mechanism of action does not make it more or less likely that

Defendants’ claims about Prevagen are substantiated. Such testimony is therefore irrelevant and

should be excluded under Rule 402. The potential danger of Dr. Schwartz’s testimony is made

clear through his discussion of oligomannate, a seaweed extract that was purportedly approved to


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treat mild to moderate Alzheimer’s disease in China in 2019. (Graham Decl. (ECF No. 225) Ex.

W, Schwartz Aff. Report ¶ 63.) Dr. Schwartz’s report stated, “it is noteworthy that

oligommanate may have a similar mechanism of action to that of Prevagen . . . .” (Id.) When

asked about this statement at his deposition, Dr. Schwartz explained:

       Q. Well, you say here that “oligomannate may have a similar mechanism of
       action to that of Prevagen.” What did you mean by that?

       A. It’s somewhat speculative. It’s somewhat speculative. I’ll admit that. It’s
       just that we don’t know really how either compound works, and both compounds
       have evidence of benefit in cognitive functioning. And for all we know, they
       could have similar mechanism of action, but I don’t know that.

(Matuschak Decl. Ex. J, Schwartz Tr. at 264:8-18.) Such speculative testimony, not grounded in

any science or evidence, would at best waste the jury’s time and at worst confuse them into

thinking a non-protein seaweed extract has the same function as Prevagen. There is simply no

evidence to support that speculation. That oligommanate might work to treat Alzheimer’s

disease has no bearing on whether apoaequorin can improve cognition in normal adults. This

testimony therefore should be excluded.

       C.      Dr. Katz’s Proposed Mechanism of Action Testimony is Unreliable,
               Irrelevant, and Prejudicial

       Defendants present Dr. Katz as yet another expert to offer speculation about

apoaequorin’s mechanism of action. Dr. Katz, however, confirmed at his deposition that he is

“not personally taking a position on the specific mechanism that is actually responsible for

[apoaequorin’s] effects.” (Matuschak Decl. Ex. A, Katz Tr. at 235:13-15.) Speculation about

how apoaequorin might work has no relevance to this case and no value for the jury.

       One element of Dr. Katz’s speculative testimony is based on the calcium-binding theory.

(See Graham Decl. (ECF No. 225) Ex. O, Katz Aff. Report ¶¶ 11-13, 67-68; Graham Decl. (ECF

No. 225) Ex. P, Katz Rebuttal Report ¶¶ 7-8.) However, Dr. Katz concedes that he does not


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know how probable it is that apoaequorin actually has an effect through calcium-binding. (See

Matuschak Decl. Ex. A, Katz Tr. at 235:16-20.) He also concedes that he does not know

whether, for the calcium-binding effect to work, intact apoaequorin has to be present in the brain.

(See Matuschak Decl. ¶ A, Katz Tr. at 235:22 – 236:5.) Dr. Katz notes that his knowledge that

apoaequorin is a calcium-binding protein was not based on any independent analysis, but rather

the suggestion of others who had studied apoaequorin (i.e., Defendants and those commissioned

by them). (See id. at 235:1-9.) He goes on to speculate that derivatives of a compound might

exert the same effect as the intact compound, but he concedes that he has no knowledge of

whether derivatives of apoaequorin can have the same effect as apoaequorin. (Id. at 236:6-14.)

       Dr. Katz, like other of Defendants’ experts, also suggests that Prevagen might somehow

work via the gut-brain axis. (Graham Decl. (ECF No. 225) Ex. O, Katz Aff. Report ¶ 69.)

Following a general discussion about influences that the human gastrointestinal tract might have

on the central nervous system, Dr. Katz concludes, “Substances like probiotics, proteins, and

peptides may influence the balance and diversity of the microbiome in ways that impact

cognitive performance.” (Id.) This conclusion is not tied to apoaequorin in any way, nor is it

relevant to whether or not these unspecified substances do, or are likely to, have an impact on

cognitive performance. The jury should not have to hear it.

       Finally, Dr. Katz also proposes to discuss other substances, which are not apoaequorin,

for which the mechanism of action is not known. (Id. ¶ 70.) The fact that an unknown

mechanism of action does not preclude a finding of efficacy is not a disputed fact in this case.

Permitting discussion of other substances for which a mechanism of action is not known would

be a waste of the jury’s time and prejudicial to the extent that it suggests these substances bear

some relationship to apoaequorin. Dr. Katz does not suggest that they have such a relationship.



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       For the foregoing reasons, Dr. Katz’s testimony regarding mechanism of action should be

excluded in its entirety.




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XI.    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court exclude the

testimony of Defendants’ experts.


Respectfully submitted,

Dated: September 1, 2022

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                                 CERTIFICATE OF SERVICE
       I certify that on this 1st day of September 2022, I caused service of the foregoing

Plaintiffs’ Memorandum of Law in Support of Their Motion to Exclude the Testimony of Drs.

David Schwartz, David Katz, Lee-Jen Wei, Mindy Kurzer, Richard Goodman, and David Gortler

to be made by electronic filing with the Clerk of the Court using the CM/ECF system, which will

send a Notice of Electronic Filing to all counsel of record.

Dated: September 1, 2022

/s/ Annette Soberats
Annette Soberats
Federal Trade Commission




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